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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
vs. ; Case No: 2:23-CR-147
MOHAMED FARAH WAES, : JUDGE MICHAEL H. WATSON
Defendant.

NOTICE OF FILING OF CHARACTER LETTER

Now comes Defendant, Mohamed F. Waes, by and through Counsel, and hereby attaches
the following character letter, received from Defendant’s parents, prior to Sentencing in this

case.

Respectfully submitted,

/s/ W. Joseph Edwards

W. Joseph Edwards (0030048)
511 South High Street
Columbus, OH 43215
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Attorney for Defendant

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true copy of the foregoing was served upon the

following, via EFILING, this 24th day of July 2024.

United States Attorney’s Office
303 Marconi Boulevard, Suite 200
Columbus, Ohio 43215
Attorney for Plaintiff

/s/ W. Joseph Edwards
W. Joseph Edwards (0030048)
Attorney for Defendant

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To Honorable Judge Michael Watson July 23,2024

Dear Sir:

We, the undersigned Farah Waes and Deeqa Mohamud, are the parents of Mohamed Waes
who is currently in jail since January 29, 2024, and waiting for his trial date expected on
07/24/2024. We are a family of 9 members, two of us as parents, 3 girls, and 4 boys.One of the
girls is 29 years old and disabled. The oldest of our children is Mohamed.

Mohamed is married and his family is composed of himself,his wife,and a disabled child(male)
of 4 years old by August 1st,2024.The child was born with one of his legs disabled.Doctors
recommended the child to undergo 4 surgeries.So far the first surgery was done a year ago.As
his wife alone is not able to support financially the family and to take care of the the three
remaining surgeries. Mohamed’s presence is indispensable for the reminder of the other
surgeries as one of the parents is required to stay with the child when the procedure is to take
place.

Mohamed’s detention shocked everyone in the family.He has been a nice,candid,and very
careful person.He has also been very courteous and amicable to his family members and
friends.In addition,Mohamed has always demonstrated obedience, reliability,and respect for his
parents and the family elders as well.He has been a lovely kid since his childhood.He loved his
siblings and the family in general.He spent most of time around with the family.

Nowadays, it is hard when you deal with the actions of young adults. The young generation of
today choose paths of their own. They don’t check if it is safe to pass and they don’t even
realize which direction it will take them. They don’t realize the dangers of some of their choices
until they fall into a dirty ditch or get in trouble. In the end, parents who are part of being
victims for their wrongdoings will face the consequences emanating from such mistakes by their
children. It would be up to the parents to do whatever possible in order to hire an attorney,
seek money for the bail, and fight for the release of their child until the court charges are
determined.

As Mohamed’s parents, these circumstances have really drifted us to high tides of anxiety and
grief that made our minds busy and obsessed during his confinement all the time. We
understand that our son may have committed a crime which would result in relevant
consequences and charges. If he had known that this would put his life in danger and was a
serious offense against the law he would have never done it. We are assuming that this will be
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an unforgettable lesson and experience for him and we are sure that he will comply with the
rules and will not be involved in anything similar to that again in the future. Why are we saying
this and praising him to this extent? Because, we know Mohamed and the kind of person he has
been in the past. We are still very confident that he will retain his integrity, fame, and
reputation. When this is over, he will continue to be a trustworthy and law abiding individual.
Mohmaed has already felt remorseful and ashamed because of these incidents.

Honorable judge Watson, today Mohamed’s exoneration lies under your clemency and leniency.
We know your judgment will be fair and righteous. As a kind and compassionate Judge, we
humbly plead and request your kind consideration on this matter. We shall not give up, and we
will look forward to your kind decision in this case. As family and friends, we will continue to
seek your pleasant deliberation. Please help us to grant our son Mohamed his freedom today.
Your honorable Judge Watson, we have very high expectations that your mercy and
benevolence will bring you to Mohamed’s release or the least mitigation possible. We
courteously ask you to look into this case and accept our plea.

Sincerely and respectfully,
Deeqa Mohamud(mother)

Farah Waes (father)
